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                            UM TED STATES DISTRICT COURT
                            SO UTH ERN D ISTR ICT O F FLO M A

                                  CA SE N O .20-CV -61469-R S

  AK AICU STO M GUN S,LLC,
  a FloridaLim ited Liability Com pany,
  and SHA Y H O ROW ITZ,an individual,

         Plaintiffs,



  KK M PRECISION ,IN C .,a N evada Corporation,
  and SH OO TER S CON NECTION ,IN C.,a
  Kentuclty Cop oration,

         Defendants.


                                        V ERD ICT FO RM

         W E,the Jury,find:

  Countl - M isleading A dvertising

  1.     D id K KM falsely advertise on its website in 2019 or earlierthata11ofitsbarrels are m ade
  f'
   rom certified 416R.gun-barrel quality stainless steelbar stock and are heattreated and vacuum
  tem pered to a Rockw ellhardness of42 RC?
             z<
  YES    -             xo
  Ifyouranswerto Question l isNO,then J/cf
                                         .
                                         p to Question l0. However,fyouranswerto 1 is
  F.E'
     k
     % thenproceedtoQuestipn2.
         Did KKM know,orshould ithaveknown,thatthe advertisementwasfalse?

  YES                  NO

  Ifyouranswerto Question2 isNO,then SWfp to Question 10. However,ff-
                                                                    m z/ranswerto2 is
  Ff,% thenproceedtoQuestion 3.
  3.     D id K K M intend thatA kairely on the advertisem ent?

  Y ES                 NO

  IfyouranswertoQuestion3 isNO,then J/cfr to Question 10. However,(
                                                                  T-w zfranswerto 3 is
  F.E'
     k
     % thenproceedtoQuestion 4.
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   4.     DidAICZ justitiablyrely ontheadvelisement?
   Y ES                NO
  IfyourJnxwcrto Question 4 isNO,thené'
                                      /(fp toQuestion l0. However,fyouranswerto 4 is
  Ffk% thenproceedtoQuestion5.
   5.     DidAkaisufferinjury orhnrm inrelianceonKKM 'Sadvertisement?
   Y ES                NO
   IfyouranswertoQuestion 5 isNO,thenJ'/cï.
                                          p to Question 10. However,fyouranswerto 5 is
   FFk% thenproceedtoQuestion 6.
   6.     W hatareA kai's actualdam ages?

   A ctualdam ages     $


   PUN ITIV E D A M A GES

   7.     Did Akai prove by clear and convincing evidence that K KM w as guilty of intentional
   m isconductorgrossnegligence?
   Y ES                NO

   lfyouranswertoQuestion 7isNO,thenJ'
                                     i'
                                      fr to Question l0. However,fyouranswerto 7is
    YEv
      % thenproceedtoQuestion8.
   8.     W as KKM 'S intentional rnisconduct or gross negligence a substantial cause of loss,
   injury,ordamagetoAkai?
   Y ES                NO

   lfyouranswertoQuestion 8 isNO,then JW/ to Question 10.However,Tytpz/ranswerto 8 is
    YES,thenproceedtoQuestion9.
   9.     W hatdo you aw ard Akaiforpunitive dam ages?

   Punitivedam ages    $                                                                         '




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   CountH I- Florida's D eceptive and U nfair Trade Practices A ct

   10.   D id KK M falsely and intentionally advedise on its w ebsite i.
                                                                       n 2019 or earlierthat a11of
  itsbarrelsarem ade from certified 416R gun-barrelquality stainlesssteelbarstock and are heat
  treated and vacuum temperedto a     ckwellhardnessof42RC?
  Y ES                 NO
  lfyouranswertoQuestion10isNO,thenJ/cïp toQuestion l4.However,fyouranswerto10 is
   F.E'
      ,
      % thenproceedtoQuestion 1l.

   11.   Doesthisconstitute adeceptivepracticein theconductofKKM 'Stradeorcomm erce?
  Y ES                 NO
  lfyouranswerto Question11isNO,then,
                                    ç/c> toQuestionl4.However,Tyoz/rannverto 11is
   F.
   .E'
     k% thenproceedtoQuestionl2.

   12.   W ere K KM 'S actionsthe legalcause ofactualdam age sustained by A kai?
   YES                 NO
  IfyouranswertoQuestion 12 isNO,thené'/# toQuestion l4.However,fyouranswerto12is
  Jr
   f5)thenproceedtoQuestion l3.

   13.   W hataze A kai's actualdam ages?

   Acmaldam ages       $




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  C ountIV - FraudulentInducem ent
  14.      Did KKM falsely representto Akaiin 2019 oreazlierthatal1ofitsbarrelsarem adefrom
  certified 416R gun-ban'el quality stainless steelbar stock and are heat treated and vacuum
  tempered to aRockwellhardnessof42 RC?
  Y ES                          NO
  IfyouranswertoQuestion14isNO,thenJ/c/ toQuestion2l.However,fyouranswerto14 is
  YEv% thenproceedtoQuestionl5.

           Did KKM know orshould ithavelcnown thattherepresentation wasfalse?
  YES                    NO
  IfyourJzkâ-wcrtoQuestion 15 isNO,thenâ'/(f.ptoQuestion2l.However,fyouranswerto 15 is
  YES,thenproceedtoQuestionl6.

  16.      D id KK M intend thatAkairely on the representation?
  Y ES
  lfyouranswertoQuestion 16isNO,thenJ'/# toQuestion2l.However,fyouranswerto 16is
   F#,
     7,thenproceedtoQuestion l7.

   17.     D id Akaireasonably rely on the representation?
  Y ES                   NO
  Ifyourtznàapcrto Question 17isNO,thenâ'/cfp toQuestion2l.However,fyourtmx
                                                                          swcrtol7is
  Ff,% thenproceedtoQuestion18.

  18. Did KKM have a specific intentnotto perform the promise atthe tim e the promise was
  m ade?
  Y ES                   NO
  Ifyouranswerto Question 18isNO,thenskip toQuestion2l.However,ff-w zfranswerto18 is
  J'
   .#2,7,thenproceedtoQuestion19.

         DidAkaisufferinjury orharm inrelianceonKKM 'Srepresentation?
   YES                   NO
                                     ç/cfp toQuestion2l.However,(Työz/ranswerto19 is
  Ifyourcnm crtoQuestion 19 isNO,thenu
   F.
   .E'
     ,% thenproceedtoQuestion20.
  20.      W hatare A kai'sactualdam ages?
  Acm aldmnages: $

                                                  4


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  CountW I- lm plied W arranty ofM erchantability


  21.    Did Akaiprovide Shooters Cormection with an opporturlity to inspect,test,and sample
  theKKM br els?
  Y ES                NO
  IfyouranswertoQuestion21isNO,thens'
                                    /cj
                                      p toQuestion27.However,fyouranswerto21is
  YES,thenproceedtoQuestion22.

  22. W asShootersConnection in thebusinessofselling theKKM barrelsthatAkaipurchased?
  YES                 NO
  IfyouranswertoQuestion22isNO,thenJ'/cj
                                       p toQuestion27.However,fyouranswerto22 f.ç
   YEV
     % thenproceedtoQuestion23.

  23.    W ere the KK M baaels sold to A kaiby Shooters Connection fitforthe ordinary pum oses
  forwhich such goods are used?
  YES                    NO
  Ifyourcnm prto Question23isNO,thenproceed to Question 24. However,Ifyourtznm erto
  23isYEu% thens'/c/ toQuestion27.

         Did Akaitake reasonable steps to notify Shooters Cozmection within a zeasonable thne
  afterAkaidiscovered thattheKKM baaelsw erenotfitfortheordinm'y purposesforwllich such
  goodsareused?
  Y ES                   NO
  IfyourJnxwprtoQuestion24 isNO,then.ski
                                       p toQuestion27. However,fyouranswerto24is
  J'
   .F,% thenproceedtoQuestion25.

  25.    W as the failure of the KK M baaels to be fitforthe ordinary purposes for wllich such
  goodsareusedalegalcauseofAkai'sinjuryorharm?
   YES
  Ifyouranswerto Question25isNO,thenâ'/# toQuestion27.However,ffyozfranswerto25is
  Jr
   .E'
     ,
     % thenproceedtoQuestion26.




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  26a. W hatare Akai's damages as a resultof Shooters Connection's breach of the implied
  wazranty ofm erchantability?
  Actualdam ages: $

  lftheamountentered is$0forb0th linesabove,then tmà-wcrQuestion 26b. Butftheamount
  enteredisgreaterthan$0foreitherlineabove,s'
                                            /cfp Question26bandproceedtoQuestion27.

  26b. How much doyou awardAkaiin nom inaldamages?

  NominalDamages:$                      tThisamountmustbegreaterthan$0.)




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  CountW l1- Im plied W arranty ofFitnessfor Particular Purpose


  27.    Did Akaiprovide Shooter
                               's Cozmectionswith an opportunity to inspect,test,and sample
  the KK M barrels?
  YES                  NO
  lfyouranswertoQuestion27isNO,thens'/cf
                                       .
                                       p to Question 35.However,fyourtznm crto27is
   J'fk7,thenproceedto Question28.

  28.    Atthe tim e Akaipurchased the KKM barrels from Shooters Cormection,did Shooters
  Colm ection lçnow orhave reason to krlow thatAkaiintended to use thebarrelsfor a pM icular
  Ptlp ose?
  YES                  NO
  IfyourJnxwcrtoQuestion28isNO,thens'
                                    /# toQuestion35.However,fyouranswerto 28is
  Jr.
    E'
     &7,thenproceedtoQuestion29.

  29.    Atthetim e ofpurchase,did Shooters Connection know orhave reason to know thatAkai
  wasrelying on ShootersConnection'ssldllandjudgmentto selectorfllrnish aproductthatwas
  suitable forAkai'spazticlz
                           llarpurpose?
  Y ES                 NO
  IfyouranswertoQuestion 29isNO,thenskip toQuestion35.However,fyourtznâapprto29 is
  JTk7,thenproceedtoQuestion30.

  30. DidAlcaijustifiablyrelyonShootersConnection'ssldllandjudgment?
  YES
  IfyouranswertoQuestion 30isNO,thenu
                                    ç/cfp toQuestion35.However,fyouranswerto30is
  F.E'
     k
     7,thenproceedtoQuestion3l.

  31.    W eretheKKM bazrelssuitableforAkai'spm icularpup ose?
  Y ES                   NO
  lfyouranswertoQuestion 31isNO,thenproceed to Question32. However,i
                                                                   fyouranswerto
  31 is1W k
          % then5,
                 kfptoQuestion35.
                   .
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      32.    Did Akaitake reasonable stepsto notify Shooters Connection within a reasonable tim e
      thattheKKM barrelswerenotsuitableforAkai'sparticularpurpose?
      YES                      NO
      IfyouranswertoQuestion32 isNO,thens'/c/ to Question35.However,fyouransiverto32 is
      FéX thenproceedtoQuestion33.


      33.    W asthe failure ofthe KKM barrels to be suitable for Akai's padicularpurpose a legal
      causeofAkai'sinjuzy orharm?
      YES                      NO
      IfyouranswertoQuestion33 isNO,thens'
                                         /(fp toQuestion35.However,fyouranswerto33 is
      F#k% thenproceedtoQuestion34.

      34a. W hat are Akai's dam ages as a result of Shooters Connection's breach of the implied
      w arranty offitness for a particularpup ose?
      Actualdnm ages: $
      LostProfits:

      Iftheamountentered is$0forb0thtinesabove,then answerQuestion 34b. Butf theamount
      enteredisgrctzrcrthan$0foreitherlineabove,s'/cfp Question34bandproceedtoQuestion 35.

      34b. How much do you award Akaiin nominaldam ages?

      NominalDamages:$                               tTl1isamountmustbegreaterthan$0.)




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  CountM l- D efam ation by lm plication v.K K M


  35. W asKKM 'S statem entthat1çI do notlcnow ifthiscompany really doesintend to sue orif
  thiswasjustatllreatto coverup and 1ay blameon usfortheiractions''astatementoffactora
  statem entthatcreates a false im pres ' n,asopposed to a statem entofm ere opinion?
  YES                   NO
                                        p toQuestion 42.However,(/ytpz/ranswerto 35is
  IfyouranswertoQuestion 35isNO,thenâ-/cf
  Ffk% thenproceedtoQuestion36.

  36a.     Did KlfM 's statem entthattC1do notknow ifthis com pany really does intend to sue or if
  thiswasjustathreatto coverup and1ayblameonusfortheiractions''createafalseimpression
  aboutAkaiby juxtaposing a series offacts so asto imply a defamatory cormection between
  them ?
  Y ES                  NO


  36b. D id         's statem entthat<'I do notknow iftl'
                                                        tis com pany really does intend to sue or if
  thiswasjustathreattocoverup and layblameonusfortheiractions''createafalseimpression
  aboutAkaiby creating adefnm atoly implication by omitting certain facts?
  YES                   NO


  36c. Did KKM 'Sstatem entthatC(Ido notlcnow ifthiscom pany really doesintend to sue orif
  thiswasjustathreatto coverup and1ay blame on usfortheiractions''tendto exposeAkaito
  hatred,ridicule,orcontempt,ortendto injureAkaiin itsbusiness,reputation,oroccupation or
  chargethatAkaicomm itted acrim e?
  YES



  Please answer Questions 36a,36b and 36c.J/--
                                             m tfr answer to al1ihree isNO,then â'/cfp to     .

  Question42.Butffyt?z/answerYEStoany ofthethree,proceed toQuestion37.




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                                     .




       37.    W astheevidence clearand convincingthatKKM m adethestatem entwith act-ualm alice?
       W S                      NO
       IfyouranswertoQuestion37isNO,thenJ/# to Question42.However,fyouranswerto37is
       YES,thenproceedtoQuestion 38.


       38.    D id K lcM 's statem entcause Alcaito suffer dnm ages?
       Y ES                     NO
       lfyouranswertoQuestion38 isNO,thens'/cfp to Question42.However,fyouranswerto38 is
        F.
         E'
          k% thenproceedtoQuestion39.

       39.    W asKlfM 'sstatem entthatd1ldo notlcnow ifthiscom pany really doesim endto sue orif
       thiswasjustathreattocoverup andlay blameon usfortheiractions''substantiallytnze,freeof
       any defam atory im plications,and m adew ith good m otives?
       Y ES                          NO
       IfyouranswertoQuestion 39 isNO,thenproceed toQuestion 40. However,ffyoz/ranswerto
       39 isJ'
             W'k% thenâ'
                       /cfp toQuestion42.

       40.    W asKlfM 'sstatem entcoveredbythe afflrmativedefenseoftrtzth orqualified privilege?
       YES                   NO
       IfyouranswertoQuestion40isNO,thenproceedtoQuestion4l. However,(
                                                                     /ytlzfranswerto
       40 is YES,then 5,/cjptoQuestion42.
                         .




       DAM AGES
       41a. H ow much doyou award Akaiin compensatory dam ages,ifany?

              $
       y theamountentered is$0,answerQuestion41b. J/'//,eamountenteredisgreaterthan$0sldp
       Question41bandproceedtoQuestion42.

       41b. H ow m uch do you aw ard A kaiin nom inaldnm ages?
              $                          Thisam otmtmustbegreaterthan $0



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  CountX V - D efam ation by Im plication v.Shooters Connection


  42. W as Shooters Corm ection's statem entthat$GIdo notlcnow ifthis com pany really does intend
  tosueorifthiswasjustathreattocoverup andlayblameonusfortheiractions''astatementof
  factorastatem entthatcreatesafalseimpression,asopposedto astatem entofm ereopinion?
  YES                   NO
  I'
   youranswerto Question42isNO,thens'/# toQuestion49.However,fyouranswerto42 is
  Ffu
    % thenproceedtoQuestion43.


  43a.      Did ShooterConnection's statementthatçûI do notltnow ifthis company really does
  intendtosueorifthiswasjustathreattocoverup and1ayblameonusfortheiractions''createa
  false impression about Akaiby juxtaposing a series of facts so as to imply a defnmatory
   corm ection between them ?
   YES                  NO


   43b. Did Shooter Connection's statement that &dI do not know if this company really does
   intendtosueorifthiswasjustatlareattocoverup andlayblameonusfortheiractions''createa
   falseimpression aboutA kaiby creatinga defam atory implication by om itting certain facts?
   YES                  NO


   43c. Did Shooter Connection's statem entthat :tI do notknow if this company really does
   intendtosueorifthiswasjustathreatto coverup andlayblameonusfortheiractions''tendto
   exposeAkaitohatred,ridicule,orcontempt,ortendtoinjureAkaiin itsbusiness,reputation,or
   occupation orchargethatAkaicornm itted acrime?
   YES                    NU


   Please answer Questions 43a,43b and 43c.J/yozfr answer to allthree is NO,then J'
                                                                                  /cfp to
   Question 49.fîfffyouanswerYES toanyofthethree,proceedtoQuestion44.




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   44.    W astheevidence clearand convincing thatShootersCozm ectionm adethestatem entwith
   acm alm alice?
   YES                     NO
  IfyouranswertoQuestion44 isNO,thenx
                                    ç/cï
                                       p toQuestion 49.However,fyouranswerto44 is
  F.E'
     k
     % thenproceedtoQuestion45.

   45.    Did ShooterConnection'sstatementcauseAkaito sufferdam ages?
   W S                     NO
   IfyouranswertoQuestion45isNO,thenS'/c(P toQuestion 49.However,fyouranswerto45is
   F#k% thenproceedtoQuestion46.

   46.    W as Shooters Connection's statementthat tG1 do notlcnow ifthis com pany really does
   intend to sue orifthiswasjusta threatto coverup and 1ay blame on usfor theiractions''
   substantially trtze,f'
                        reeofany defnm atory implications,and madewith good m otives?
   YES                          NO
   Ifbouranswerto Question46isNO,thenproceed toQuestion47. However,fyouranswerto
   46isYEu% thenJ'/c/ toQuestion49.

   47.    W as Shooters Connection's statem ent covered by the affinnative defense of trt
                                                                                        zth or
   qualified privilege?
   YES                    NO
   Ifyouranswerto Question 47isNO,thenproceed to Question 48. However,ffyözfranswerto
   47isJ'A'
          u% thenxç/c/ toQuestion49.

   D AM AGES
   48a. How m uch do you award Akaiin compensatory dam ages,ifany?


   Iftheamountenteredis$0,answerQuestion 48b. J/'f/zcamountentered isgreaterthan $0ski
                                                                                     p
   Question48bandproceed toQuestion49.
   48b. H ow m uch do you aw ard A kaiin nom inaldam ages?
                                Thisam ountm ustbegreaterthan $0


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   49. W as Shooters Connection's statem entthatûcyou were m isled by Shay thatitw as the barrel''
   a statem ent of fact or a statem entthat creates a false im pression,as opposed to a statem ent of
   m ere opinion?
   Y ES                  NO
   IfyourtznâapcrtoQuestion 49isNO,thenJ/cf
                                          p toQuestion 56.However,fyouranswerto49is
   F#5lthenproceedtoQuestion50.                 '


   50a.     Did Shooters Connection's statementthatGGyou were m isled by Shay thatitwasthe
   bazrel''createafalseimpressionaboutHorowitzbyjuxtaposing aseriesoffadssoastoimply a
   defam atory nnection between them ?
   YES                   NO


   50b. Did Shooters Corm ection's statem ent that Glyou w ere m isled by Shay that it w as the
   barrel'' create a false im pression about H orow itz by creating a defam atory im plication by
   om itting cert ' facts?
   YES                   NO


   50c. D id Shooters Connection's statem ent that tlyou w ere rnisled by Shay that it w as the
   bal-
      rel''tendtoexposeHorowitztohatred,ridicule,orcontempt,ortendtoinjureHorowitzinhis
   business,reputati ,oroccupation or chargethatH orow itz com m itted a crim e?
   Y ES                      NO


   Please answer Questions 50a,50b and 50c.Y'ytpzfr answer to al1three is NO,then â'/# to
   Question56.ButfyouannverYEStoanyofthethree,proceedtoQuestion5l.

   51.    W asthe evidence clearand convincing thatShootersConnection m ade the statem entw ith
   actualm alice?
   Y ES
   IfyouranswertoQuestion51isNO,thenJ/ctptoQuestion56.However,fyouranswerto51is
   YES,thenproceedtoQuestion52.




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   52.    Did ShootersCormection'sstatem entcauseHorowitzto sufferdam ages?
   YES                     NO

   yyouranswertoQuestion52isNO,thenJ'k/ toQuestion56.However,(
                                                             /ywzfranswerto52 is
   F#k
     % thenproceedtoQuestion53.

   53.    W as Shooters Connection's statem entthat tlyou were misled by Shay that it was the
   br el''substantiallytrue,freeofany defam atozy implications,and m adewith good m otives?
   YES                          NO
   lfyouranswertoQuestion53 isNO,thenproceed to Question 54. However,Lfyouranswerto
   53isJik% thenxç/c/
                    r toQuestion56.

   54.    W as Shooters Connection's statement covered by the afflrmative defense of trtzth or
   qualified privilege?
   YES                    NO
   Ifyouranswerto Question54 isNO,thenproceed toQuestion55. However,T-
                                                                     w z/ranswerto
   54isFf,7,thenu
                ç/cfr toQuestion56.

   DA NLNGES
   55a. How much doyou award Horowitzin compensatory damages,ifany?
          $       /AX ,&TQ.oA
   Jff/;camountentered is$0,Jnâ-kpcrQuestion55b. Jff/cdamountentered isgreaterthan$0uç/cj
                                                                                        r
   Question 55bandproceedto Question56.

   55b. How much doyou award Plaintiffin nom inaldam ages?
                                Thisamountmustbegzeaterthan $0.
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   56. W asShootersConnection'sstatementthatGtlf-
                                                lfM 'sheattreatersarecet'tified.El-lorowitz'sj
   are not'' a statem ent of fact or a statem ent that creates a false im pression, as opposed to a
   statem entofm e opinion?
   Y ES                  NO
            çwcrtoQuestion56isNO,thenâ'/cfp to Question63.However,fyouranswerto56is
   Ifyour(znx
   FéX thenproceedtoQuestion57.


   57a. DidShootersCormection'sstatementthat(EKKM 'Sheattreatersarecertified.gI-lorowitz'sq
   arenot''createafalseimpressionaboutHorowitzbyjuxtaposingaseriesoffactssoastoimplya
   defam atory co ection between them ?
   YES                   NO


   57b. D id Shooters Corm ection's statem ent that GGK KM 'S heat treaters are certified.
   gl-lorowitz'sq are not'' create a false impression about Horowitz by creating a defamatoly
   im plication by   'tting ce/àin facts?
   YES                   NO


   57c. D id Shooters Corm ection's statem ent that (G           's heat treaters are certified.
   El-lorowitz'sjarenot''tendtoexposeHorowitzto hatred,ridicule,orcontempt,ortendto injure
   H orow itz in lzi usiness,reputation,oroccupation orcharge thatH orowitz com m itted a crim e?
   Y ES


   Please answer Questions 57a,57b and 57c.Y'yoz/r answerto allthree is NO,then à'/cfp to
   Question 63.ButTyt?zfanswerYES toanyofthethree,proceedtoQuestion58.

   58.    W asthe evidence clearand convincing thatShooters Connection m ade the statem entwith
   actualm alice?
   Y ES                       NO

                                       /# toQuestion 63.However,i
   Ifyourtznm crtoQuestion58 isNO,thens'                        fyouranswerto
   58 isrfu% thenproceed toQuestion59.
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   59.    D id Sh   ers Colm ection'sstatem entcause H orow itz to sufferdam ages?

   YES
  IfyouranswertoQuestion59isNO,thenJ'/# toQuestion63.However,(
                                                             /-
                                                              m zfranswerto59 is
   FFu
     % thenproceedtoQuestion60.

   60.    W as Shooters Connection's statem ent that GKKKM 'S heat treaters are certified.
   gI-lorowitz'sqare not''substantially tnle,free ofany defamatory implications,and made with
   goodm otives?
   YES                          NO
   lfyourJnm crtoQuestion 60isNO,thenproceed toQuestion 6l. However,fyourtznà-wcrto
    60is YES,then x
                  ç/cïp toQuestion63.
                     .




   61.    W as Shooters Connection's statem ent covered by the affirm ative defense of truth or
   qualified privilege?
   Y ES                   NO
   It-yourtznswcrtoQuestion 61isNO,thenproceed toQuestion 63. However,fyouranswerto
   61 is YES then J/cfp toQuestion 63.
                     .




   DA M A GES
   62a. H ow m uch do you aw ard H orow itz in com pensatoty dam ages,if any?

          $ /@ f;o'
                  oo .oo
                                çwcrQuestion 62b.J/-//lcamountentered isgreaterthan$0J'/c/.
   J/-f/;camountentered is$0,tzn-                                                         p
   Question62bandproceedtoQuestion63.

   62b. How much do you aw ard Plaintiffin nominaldamages?
          $                     Thisam ountmustbe greaterthan $0.
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   63. W as Shooters Cozmection's statement that ttbuilt with gl-lorowitz'sj unconventional
   methods''and thattlll-
                        lorowitz'sqtesting methodswerefaulty''a statementoffactorstatement
   thatcreatesa     se im pression,as opposed to a statem entofm ere opinion?
   YES                   NO
   lfyouranswerto Question 63 isNO,thenJ/cjp toQuestion 70.However,fyouranswerto 63 is
    F.
     E'
      u% thenproceedtoQuestion64.

   64a. Did Shooters Connection's statement that barrels were ûdbuilt with (Horowitz'sj
   unconventionalmethods''and that(Ggl-lorowitz'sjtesting m ethods were faulty''create a false
   impression about Horowitz by juxtaposing a series of facts so as to imply a defam atory
   colm ection betw n them ?
   YES                    NO


   64b. Did Shooters Cormection's statement that barrels were Gsbuilt with (Horowitz'sq
   unconventionalmethods''and thatû'gl-lorowitz'sjtesting methods were faulty''create a false
   im pression ab tHorowitzby creating a defnmatory implication by omitting certain facts?
   Y ES                   NO


   64c. Did Shooters Connection's statement that barrels were lEbuilt with (Horowitz'sl
   unconventionalmethods''and thatEcgl-lozowitz'sjtesting methodswere faulty''tend to expose
   Horowitzto hatred,ridicule,orcontempt,ortendtoinjlzreHorowitzin hisbusiness,reputation,
   or occupation,o charge thatH orow itz com m itted a crim e?
   YES                      NO


   Please Jnâapcr Questions 6461,64b and 64c. Jfy/zfranswer to allthree isNO,then u
                                                                                  ç/# to
   Question 70.Butf/-yczfanswerYEStoany ofthethree,proceedtoQuestion65.


   65.    W asthe evidenceclearand convincing thatShootersCormectionm adethe statem entwith
   actualm alice?
   Y ES                        NO
   IfyouranswertoQuestion65isNO,thenJkfp to Question 70.However,ffyt/z/ranswerto65is
   Ffk% thenproceedto Question 66.
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   66.    Did Shooters Connection's statem entcause H orow itz to suffer dam ages?
   YES                     NO
   IfbouranswertoQuestion66isNO,thenJ'/ctptoQuestion 70.However,f/-ytpzfranswerto 66is
   F.E'
      ,% thenproceedtoQuestion 67.

   67. W as Shooters Cozmection's statement that br els were lcbuilt with gl-lorowitz'sj
   unconventionalmethods''andthatSlgl-lorowitz's)testingmethodswerefaultf'substantiallytnze,
   free ofany defam atory im plications,and madewit ood motives?
   Y ES                         NO
   Ifyour(znm crto Question 67isNO,thenproceed to Question 68. However,i
                                                                       fyouranswerto
   67iszFu % thens'
                  /cf
                    r toQuesdon 70.
   68.    W as Shooters Colm ection's statement covered by the affirm ative defense of tnzth or
   qualified privilege?
   Y ES                   NO
   Ifyouranswerto Question 68 isNO,thenproceed toQuestion 69. However,ffytpz/ranswerto
   68isYES,thenxçk/ toQuestion 70.

   DA M AG ES
   69a. H ow m uch do you aw ard H orow itz in com pensatozy dam ages,ifany?
          $ ?         @ O O . Y'-&
   Iftheamountentered is$0,answerQuestion69b. J/-J/Z/amountentered isgreaterthan$0â-kï
                                                                                     .
                                                                                     p
   Question 69bandproceedtoQuestion 70.

   69b. How much doyou award Plaintiffin nom inaldamages?
                                Tl'
                                  lisam ountmustbe greaterthan $0.




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  70. W as Shooters Connection's statement that EçBy the w ay have you looked into Shay
  L'
   Horowitz'sq history?''a statement of fact or statementthat creates a false impression,as
  opposed to a statem entofm ereopinion?


  YES                  NO
  Ifyouranswerto Question 70 isNO,thenthisendsyourdeliberations;do notanswerany more
  questions,and àtzvctheforeperson sign and datethisform.Butfyou answerto Question 70 is
   Ffk
     %proceedtoQuestion 71.


  71a.      Did Shooters Cormection's statementthatçiBy the way have you looked into Shay
  gl-lorowitz'sjhistory?''createafalseimpression aboutHorowitzbyjuxtaposingaseriesoffacts
  so asto im ply defam atory connection between them ?
  Y ES                  NO


  71b. Did Shooters Connection's statem ent that 1% y the way have you looked into Shay
  gl-
    lorowitz'sq history?''create a false impression about Horowitz by creating a defamatory
  im plication   omitling certain facts?
  YES                   NO


  71c. Did Shooters Connection's statement that ç$By the way have you looked into Shay
  (Horowitz'sqhistory?''tendtoexposeHorowitztohatred,ridicule,orcontempt,ortendtoinjure
  Horowitzin ' usiness,reputation,oroccupation orchazgethatHorowitzcomm itted acrim e?
  YES                     NO


  PleaseanswerQuestions71a,71band 7lc.J/-w z/ranswertoallthreeisNO,thenthisendsyour
  deliberations;do notanswerany more questions,and have theforeperson J'fgn and date this
  form.ButY'  -
              w ?,/answerF#5'toany ofthethree,proceedtoQuestion 72.




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   72. W as the evidence clear and convincing that Shooters C onnection m ade the
   statem entw ith actualm alice?

   YES                     NO

  IfyouranswertoQuestion 72isNO,thenthisendsytpz/rdeliberations;donotanswerany
  morequestions,andhavetheforepersonsignanddatethisform.However,ffywz/ranswer
  to 72isFfk% thenproceedtoQuestion 73.


          Did Sh ters Connection's statem entcause H orow itz to sufferdnm ages?
   YES                     NO

   IfyouranswertoQuestion 73 isNO,then thisendsyourdeliberations;donotanswerany more
   questions,and àtzvc theforeperson sign and date thisform.However,fyourJn-
                                                                           o'pdrto 73 is
   yzk% thenproceedtoQuestion 74.

   74.    W as Shooters Colm ection's statement that (% y the w ay have you looked into Shay
   gl-lorowitz'sqhistory?''substantially tnle,freeofany defamatory implications,and madewith
   good m otives?
   Y ES

   IfyouranswertoQuestion 74 isNO,thenproceed to Question 75. However,fyouranswerto
   74 f.
       ç YES, then this ends your deliberations..do not answ er any m ore questions,and Fzcv: the
  forepersonsignanddatethisform.

   75.    W as Shooters Corm ection's statem ent covered by the affirm ative defense of trtzth or
   qualified privilege?
   Y ES                   NO
   IfyouranswertoQuestion 75 isNO,thenproceed toQuestion 76. However,fyouranswerto
   75 is YE& then this endsyour deliberations..do notJnâ-kpcr any more questions,and have the
  forepersonJfgnanddatethisform.




                                                20


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   DA M AGES
   76a. H ow m uch do you aw ard H orow itz in com pensatory dam ages,if any?

          $ /2f oog .oo
   J/'//2Camountentered is$0,answerQuestion 76b.J/-r/lcamountentered isgreaterthan $0é'/c/
   Question 76b.

   76b. H ow m uch do you aw ard Plaintiffin nom inaldam ages?
          $                    Thisam ountmustbegreaterthan $0.


   ****




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                                yoroecember, 2023.


                                            l



   FOM PERSON (printname)                                  FOREPERSON (signature)




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